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                                      No. 10-15286

                                      No. 10-16392

                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT


                                  STEPHANIE ENYART,

                                                   Plaintiff-Appellee,

                                       versus

            NATIONAL CONFERENCE OF BAR EXAMINERS,

                                                Defendant-Appellant.


                    On Appeal from the United States District Court
          for the Northern District of California, San Francisco Division
                            The Honorable Charles R. Breyer
                           District Court Case No. C09-05191


           NOTICE OF July 2010 California Bar Exam RESULTS


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In accordance with the Clerk's Order dated October 15, 2010, Plaintiff-Appellee

Stephanie Enyart hereby notifies the Court that the results of the July 2010

California Bar Exam were released to test takers on November 19, 2010, and a list

of candidates passing the exam was made available to the public on November 21,

2010. Ms. Enyart did not achieve a passing score on the July 2010 California Bar

Exam.




Dated: November 22, 2010               DISABILITY RIGHTS ADVOCATES


                                 By: /s/ Karla Gilbride

                                       Attorneys for Plaintiff-Appellee
